Case 2:03-cv-O2216-BBD-gbc Document 122 Filed 04/25/05 Page 1 of 8 Page|D 290

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IN THE UNITED sTATES DlsTRICT COURT 5
FoR THE wESTERN DISTRICT 0F TENNESSEE@;.; -,35 555 5 : , l _
WESTERN DIVISION

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in re ACCREDO HEALTH, INC. "'""""D G""” "'*`"§‘ ‘“~"‘*““'**""
sECURlTlEs LITIGATION Civii Ac:ion NO. 03-2216-BP

 

CLASS ACTION

 

This Docurnent Relates to:

ALL ACTIONS

 

ORDER GRANTING UNOPPOSED MOTI{)N OF DEFENDANTS
FOR EXTENSION OF TIME TO FILE RESPONSIVE PLEADING

 

Before the Court is the unopposed motion of defendants for an extension of time within
which to file an answer to the plaintiffs Consolidated Complaint. For good cause shown, the
Court grants the defendants’ Motion and the defendants shall have up to and including May 16,

2005, within which to file their answer.

SO ORDERED.

   

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D sTATE DisTRICT`JUDGE
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Date

 

 

Notice of Distribution

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Case 2:03-cv-O2216-BBD-gbc Document 122 Filed 04/25/05 Page 3 018 Page|D 292

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Case 2:03-cv-O2216-BBD-gbc Document 122 Filed 04/25/05 Page 4 of 8 Page|D 293

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Case 2:03-cv-O2216-BBD-gbc Document 122 Filed 04/25/05 Page 5 of 8 Page|D 294

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Case 2:03-cv-O2216-BBD-gbc Document 122 Filed 04/25/05 Page 6 of 8 Page|D 295

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